                                   Case 3:07-cv-05944-JST Document 861 Filed 01/31/11 Page 1 of 3


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                    6         Attorneys for Defendants
                              Tatung Company of America, Inc.
                    7
                              [Additional counsel listed on signature page]
                    8

                    9                                         UNITED STATES DISTRICT COURT

                  10                                       NORTHERN DISTRICT OF CALIFORNIA

                  11                                             SAN FRANCISCO DIVISION

                  12          IN RE CATHODE RAY TUBE (CRT)                        MASTER FILE No. 3:07-CV-5944 SC
                              ANTITRUST LITIGATION
                  13                                                              MDL NO. 1917
                              _______________________________________
                  14                                                              STIPULATION FOR EXTENSION OF
                              This document relates to:                           TIME TO ANSWER INDIRECT
                  15                                                              PURCHASER PLAINTIFFS’ THIRD
                              ALL INDIRECT PURCHASER ACTIONS                      AMENDED COMPLAINT
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                  18
                                     WHEREAS, Plaintiffs filed their Third Amended Complaint on December 11, 2010;
                  19
                                     WHEREAS, Defendant Tatung Company of America, Inc., (“Defendant”) was properly
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                              served with the complaint;
                  21
                                     WHEREAS, Defendant’s answer to the aforementioned complaint would be have been due
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                              on December 27, 2010;
                  23
                                     WHEREAS, this Court entered an Order extending the Defendant’s deadline to answer the
                  24
                              complaint to January 26, 2011;
                  25
                                     WHEREAS, Defendant has requested and Plaintiffs have agreed to a further extension of 7
                  26
                              days to answer the complaint;
                  27
                                     WHEREAS, this extension will not alter the date of any event or any deadline already fixed
                  28
                                                                              1
 Baker & McKenzie LLP
One Prudential Plaza, Suite                                                                                           MDL No 1917
           3500                                                                                STIPULATION FOR EXTENSION OF TIME
 130 East Randolph Drive                                                                              MASTER FILE NO. 07-cv-5994 SC
   Chicago, IL 60601
      1 312 861 8000
                                   Case 3:07-cv-05944-JST Document 861 Filed 01/31/11 Page 2 of 3


                    1         by Court order;

                    2                NOW THEREFORE, the parties stipulate and agree as follows:

                    3                The time for Defendant to answer the aforementioned complaint is extended by 7 days, to

                    4         Wednesday, February 2, 2011.

                    5                It is so stipulated.

                    6         Dated: January 27, 2011                                      BAKER & McKENZIE LLP
                    7

                    8                                                                      By: s/Patrick J. Ahern
                                                                                              Patrick J. Ahern
                    9                                                                         One Prudential Plaza
                                                                                              130 E. Randolph Street
                  10                                                                          Chicago, Illinois 60601
                  11                                                                          Bruce H. Jackson (State Bar No. 98118)
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                  13
                                                                                              Attorneys for Defendants
                  14                                                                          Tatung Company of America, Inc.
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                  17                                                                       TRUMP, ALIOTO, TRUMP & PRESCOTT,
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                                             TA                                            By: s/ Mario N. Alioto
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                                                                                              Mario N. Alioto
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                  21                        IT IS S                                           Lauren C. Russell
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                                                                                              2280 Union Street
                  22                                                                          San Francisco, CA 94123
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                                                            amuel C
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                                                     Judge S                                  Telephone: (415) 563-7200
                                                                              FO




                  23                                                                          Facsimile: (415) 346-0679
                                    RT




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                  24                             N                        C                   Interim Lead Counsel for the Indirect
                                                                   F
                                                     D IS T IC T O
                                                           R                                  Purchaser Plaintiffs
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 Baker & McKenzie LLP
One Prudential Plaza, Suite                                                                                                       MDL No 1917
           3500                                                                                            STIPULATION FOR EXTENSION OF TIME
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      1 312 861 8000
                                  Case 3:07-cv-05944-JST Document 861 Filed 01/31/11 Page 3 of 3


                    1                                              CERTIFICATE OF SERVICE

                    2               I, Patrick J. Ahern, certify that on January 27, 2011, a true and correct copy of the foregoing
                    3
                              STIPULATION FOR EXTENSION OF TIME TO ANSWER INDIRECT PURCHASER
                    4
                              PLAINTIFFS' THIRD AMENDED COMPLAINT was served upon all counsel of record.
                    5

                    6
                                                                                         s/ Patrick J. Ahern
                    7                                                                    One of the Attorneys for Defendant
                    8                                                                    Tatung Company of America, Inc.

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